Case 1:20-cv-00316-JLS-LGF Document 69 Filed 03/17/22 Page 1 of 6

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

 

 

 

FELIPPE MARCUS ;

oa Lo 4 aa e+
Plaintiff, i: 20-cv-00316-JL8
VS. i Honorable: John L. Sinatra Jr.

CITY OF BUFFALO, et al.,

 

Defendant (s) i

 

  
    

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RN DisTRICT OF

PLANTIFFS' MOTION TO
COMPEL DISCLOSURE

      

NOW COMES FELIPPE MARCUS, puiaintire, In

Propria Persona, and pursuant to Federal Rules of Civil

procedure, Rule 26 and Rule 33 piaintifr hereby requests

that Defendant's produce the following; and based upon this
Court's February 71, 2022, scheduling order

Name of Officer who arranged to have Plaintiffs‘ 2003
Cadillac Deville, towed from the scene of the traffic stop on
3/30/2016.

2 Name of Officer who prepared an impound report.
Please provide a copy of such.

3. Name of Officer who prepared property custecy

entifying the property that was seized from the
Case 1:20-cv-00316-JLS-LGF Document 69 Filed 03/17/22 Page 2 of 6

4. Name, location and owner of towing company.
5. Name of imoound company, including owners name
6. Buffalo's Police departments‘ standard policy of

safeguarding an  arneetes's vehicle.
7. Name of person who approved the subsequent sale of

Plaintiff's 2003 Cadillac Deville.

8. When and who sold the vehicie, whe the vehicle was
sold to. How much was it seld for.
G. Does that person have any connections, with any

arresting cefficer.
id. The complete unredacted Video, of Plaintiffs' alleged

TT. tf Plaintiffs' vehicle was taken to @ police garage.
Please provide name, iocation, and person who inventoried
vehicle at that piace.

12. Plaintiffs’ vehicle tow report.

i3. Boffalo Police Departments’ inentory policy.

14. Impound report prepared by Buffalo Police Officer's
Calvis MoKnight or Vincent Humphrey.

15. Buffalo Police Departments’ standard policy of
safeguarding an arrestee's vehicie.

16. Buffale Police Departments "NOTICE™ and "INVENTOR"
sheet of 3/50/18, concerning Plaintiffs’ 2003 Cadillac
Deville.

17. Buffalo Police Departments forfeiture notice sent to
Plaintiff.

This information is needed Lo aga any additional
Defendants’, prior to filing my AMENDED COMPLAINT, to include
the selling of my 2003 Cadillac Deville worth forty thousancas

 

 
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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

 

 

FELITPPE MARCUS,
Plaintiff, 1:20-cv-00316-JL5S

VS. Honorable: John L. Sinatra Jr.
CITY OF BUFFALO, et al.,.

Defendant (s)

 

 

CERTIFICATE OF SERVICE

This is to certify that I have this day served counsel for

the opposing parties a copy of the foregoing document by first
class United States mail in a properly addressed envelope with
adequate postage thereon.

The individuals served are:

Clerk of the Court David M. Lee

U.S. District Court Assistant Corporation Counsel
304 U.S. Courthouse 65 Niagara Square, 11th Floor
68 Court Street Buffalo, New York 14202

Buffalo, New York 14202

This yin so day of Marcel , 2022.

Respectfully submitted,

pavea:() 2, IY | 207.2. Aoleppr Mahou

FELIPPE MARCUS

In Propria Persona

3205 South Parker Road Apt. 109
Denver, Colorado 80014

 

cc: FILE FM
Case 1:20-cv-00316-JLS-LGF Document 69 Filed 03/17/22 Page 4 of 6

UNITED STATES DISTRICT COURT

WESTERN DISTRICT

 

OF NEW YORK

1220-cv-00316-UL5

 

 

Honorabie: John L. Sinatra Jr.
CITY OF BUFFALO, et al.,.
Defendant (s)
Actas nse eee ane
At a Session of said Court nelid in the Court House in the Western
District of New York, om , £022,
Present: HONORABLE: John L. Sinatra, Jr., Dastrict Court Judge.
Upon reading and filing the Motion of Felippe Marcus,
Plaintiff, alleging he needs these documents te comply with this
Courts’ request that Plaintiff file an Amended Complaint,
concerning the Selling of his vehicle and the Court having been
Gilly advised in the premises it is IDOERED chat
Defendant's Corporetion counsel David M. Lee, furnish such
documents so Plaintiff can perfect an Amended Complaint.
Honorable John Lb. Sinatra, dr.
Case 1:20-cv-00316-JLS-LGF Document 69 Filed 03/17/22 Page 5 of 6

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

 

}
| FELIPPE MARCUS,
Plaintiff, |
VS. |

CITY OF BUFFALO, et al.,.
3 . {
Defendant (3) i

1220

Honorable:

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-JL

£,

John L. Sinatra Ur.

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che opposing parties a@ copy of the foregoing docutient by First
class United States mail in a@ properly addressed envelope with
adequate postage thereon.

The individuals served are:

(Lerk of the Court David M. Lee

U.8. District Court Assistant Corporation Counsel

364 U.S. Courthouse 65 Niagara Square, 11#h Ficor

68 Court Street Buffalo, New York 14202

Butfaic, New York 14202
This IM day of Marcy | 2022.

 

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Mr. Felippe Marcus
n Propria Persona

5 South Parker Road, Apt. 109
vr, Colorada S80014

Clerk of the Court

United States District Court
304 United States Courthouse
é& Court Street

Buffalo, New York 14202

Pleas

eG x
T respectfully request you file with thi

1. Plaintiffs’ MOTION TO COMPEL
2. ORDER
3. Proonk of Service.

 

Filed 03/17/22

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Page 6 of 6

following document,
& Honorable

Court:

th

 

 

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